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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                              )
                                                      )
       v.                                             )   Criminal No. 18-10087-FDS
                                                      )
(1) DI’LON SMITH, a/k/a DILON SMITH, and              )
(2) DENZEL SMITH,                                     )
                                                      )
                       Defendants.                    )


              GOVERNMENT’S OPPOSITION TO DEFENDANTS’ MOTION
              TO SUPPRESS EVIDENCE SEIZED FROM THE HONDA CIVIC

       The United States respectfully requests that the Court deny the defendants’ motion to

suppress evidence seized on November 29, 2017, during a warrantless search of a Honda Civic

parked at 177 Megan Road in Hyannis. Officers searched the Civic after executing a search

warrant for the basement apartment of 177 Megan Road. The automobile exception to the Fourth

Amendment’s warrant requirement applies because officers had probable cause that the Civic

contained evidence of drug dealing.

                                              FACTS

       The defendants are Denzel Smith (“Denzel”) and his fraternal twin brother, Dilon Smith

(“Dilon”). The government’s opposition to Dilon’s motion to suppress all evidence derived from

the execution of the search warrant for the basement apartment of 177 Megan Road, DN 91, is

incorporated herein by reference.

       In the late summer/early fall of 2017, Yarmouth and Barnstable police began

investigating Denzel and Dilon for distributing fentanyl. DN 91 at 1. As part of the investigation,

officers obtained five search warrants. Id. at 1-2.




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   A. The Controlled Buys

       The search warrants referenced a total of six controlled purchases of narcotics from the

defendants:

          1. Controlled Buy #1: During the week of October 20, 2017, a confidential

              informant (“CI”) made a controlled purchase of fentanyl from Dilon, who arrived

              at the prearranged meet location in his BMW. The transaction took place inside

              the BMW. See DN 88-5, ¶ 4.

          2. Controlled Buy #2: During the week of November 5, a CI made a controlled

              purchase of fentanyl from Denzel, who arrived at the prearranged meet location in

              his Chevy Impala. The transaction took place at/in the Impala. See Impala Tracker

              Warrant Aff. (DN 91-2), ¶ 3.

          3. Controlled Buy #3: During the week of November 14, a CI made a controlled

              purchase of fentanyl from Denzel. Denzel left 177 Megan Road in his Impala and

              headed straight to the prearranged meet location. The transaction took place at/in

              the Impala. See DN 88-1, ¶ 7. This controlled purchase is the same one described

              in ¶ 4 of the affidavit supporting the search warrant for the GPS tracker for the

              Impala. See DN 91-2, ¶ 4.

          4. Controlled Buy #4: Within 72 hours before November 22, a CI made a controlled

              purchase of fentanyl from Dilon, who arrived at the prearranged meet location in

              his BMW. The transaction took place inside the BMW. See DN 88-5, ¶ 6.

          5. Controlled Buy #5: Within 72 hours before November 28, a CI made a controlled

              purchase of fentanyl from Dilon. Dilon left 177 Megan Road in his BMW and

              drove straight to the prearranged meet location. The transaction took place at/in



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               the BMW. See DN 88-1, ¶ 8.

           6. Controlled Buy #6: Within 48 hours before November 29, a CI made a controlled

               purchase of fentanyl from Denzel. Denzel left 321 Mitchells Way in his Impala

               and drove straight to the prearranged meet location. The transaction took place at

               the Impala. See DN 88-3, ¶ 5.

       The controlled buys indicated to police that the defendants used vehicles to make their

drug sales. They did not sell out of a house or apartment.

   B. Information Known to Officers About the Civic Before the Search

       Before searching the Civic, officers knew that it was registered to C.W., Denzel’s

girlfriend. DN 91 at 7. They also knew that Denzel sometimes drove it:

           •   Officers saw Denzel driving the Civic on November 15. DN 88-4 at DILON

               0567.

           •   On November 16, officers saw the Civic parked at 177 Megan Road. Id. at

               DILON 0568. Then they saw Denzel exit the rear of 177 Megan Road, walk to the

               Civic, look up and down the street, place something in the trunk of the Civic, and

               drive away. Id.

           •   Detective Ginnetty had seen Denzel, while driving the Civic, conduct short

               meetings that he believed were drug deals. See DN 88-2 at DILON 0102.

   C. The Searches of the Apartment and the Civic

       On the morning of November 29, 2017, before executing the search warrant for the 177

Megan Road apartment, officers saw Denzel and Dilon arrive at that address in the Civic. Denzel

was driving, Dilon was in the front passenger seat, and a third man, M.M., was in the back. DN

91 at 7. Denzel parked the Civic in the driveway, and the three men entered the apartment. About


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2½ hours later, Dilon’s girlfriend, A.S., arrived in Dilon’s BMW and entered the apartment. Id.

A few minutes later all four people emerged from the apartment and walked to the driveway. As

Denzel was entering the driver’s side of the Civic, officers announced themselves and secured

the four individuals. Id. Denzel, who was searched pursuant to the warrant, had keys to the Civic.

See DN 88-2 at DILON 0105. Officers then searched the apartment. They found drugs, drug

packaging materials, two firearms, and ammunition. DN 91 at 8.

       After searching the apartment, officers searched the Civic. Id. Inside the trunk they found

a backpack containing a grinder with residue, blue gloves, plastic baggies, a 1000-gram bag of

Mannitol (a cutting agent), a substance that tested positive for MDMA (Ecstasy), an empty box

for one of the narcotic presses found inside the apartment, a digital scale, mail addressed to

Denzel, and photos of Denzel’s children. Id.

                                          ARGUMENT

       The Court should deny the defendants’ motion to suppress the evidence seized from the

Civic. The government concedes that the warrant for the apartment did not include the Civic, and

that the Civic was not located within the curtilage of the apartment. Nevertheless, the Court

should deny the motion under the automobile exception because the officers had probable cause

to search the Civic.

       “The Fourth Amendment ordinarily requires police to obtain a warrant before conducting

a search, but under the so-called ‘automobile exception,’ all the police need is probable cause to

search the vehicle.” United States v. Gonsalves, 859 F.3d 95, 103 (1st Cir.), cert. denied, 138 S.

Ct. 367 (2017). The automobile exception does not require exigent circumstances. See Maryland

v. Dyson, 527 U.S. 465, 466 (1999). Nor does it matter whether the police had the ability or time

to obtain a warrant, or whether the suspect was in custody. See Pennsylvania v. Labron, 518 U.S.



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938, 940 (1996). “If a car is readily mobile and probable cause exists to believe it contains

contraband, the Fourth Amendment . . . permits police to search the vehicle without more.” Id.

        Probable cause exists when “the totality of the circumstances suggests that there is a fair

probability that contraband or evidence of a crime will be found in the vehicle.” Gonsalves, 859

F.3d at 103 (internal quotation marks omitted).

         The test for probable cause is not reducible to precise definition or
         quantification. Rather, the standard is satisfied when the totality of the
         circumstances create a fair probability that evidence of a crime will be found
         in a particular place. All that is required is the kind of fair probability on which
         reasonable and prudent people, not legal technicians, act.

United States v. White, 804 F.3d 132, 136 (1st Cir. 2015) (citations and internal quotation marks

omitted); see also United States v. Rivera, 825 F.3d 59, 63-64 (1st Cir. 2016) (“probable cause

does not demand certainty, or proof beyond a reasonable doubt, or even proof by a

preponderance of the evidence – it demands only a fair probability that contraband or evidence

of a crime will be found in a particular place”) (internal quotation marks omitted).

        At the time they searched the Civic, officers had probable cause to believe that the car

contained drugs or other evidence of drug dealing, based on the following information known to

them:

           •   Officers had monitored controlled purchases of fentanyl from Denzel out of his

               Impala and from Dilon out of his BMW. Each defendant’s modus operandi for

               selling drugs was to use a vehicle.

           •   Officers saw Denzel driving the Civic on November 15.

           •   On November 16, officers saw the Civic parked at 177 Megan Road. Then they

               saw Denzel exit the rear of the property, walk to the Civic, look up and down the

               street, place something in the trunk of the Civic, and drive away. Id.


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           •   Detective Ginnetty had seen Denzel, while driving the Civic, conduct short

               meetings that he inferred were drug deals.

           •   On November 29, Denzel drove the Civic to 177 Megan Road, parked, and went

               inside the apartment – which contained substantial evidence of drug dealing –

               with Dilon and a third man. When they left the apartment 2½ hours later, Denzel

               was about to get into the driver’s seat and had the keys to the Civic on his person.

       Given all of this information, a person of reasonable caution would have believed that the

Civic contained drugs or evidence of drug-dealing. “[T]he totality of the circumstances create[d]

a fair probability that evidence of a crime” would be found in the Civic. White, 804 F.3d at 136.

       In arguing that the police lacked probable cause, the defendants rely primarily on United

States v. Smith, 533 F. Supp. 2d 227 (D. Mass. 2008). The facts in that case, however, are

distinguishable. In Smith, police obtained a warrant to search the second-floor apartment of a

building based on evidence that the defendant was selling drugs out of that apartment. Id. at 230,

234. While conducting pre-search surveillance, an officer saw, parked in the driveway, a red

Mazda that a cooperating witness had said the defendant drove. Id. The officer saw the defendant

get out of the Mazda and approach a silver car in the driveway. Id. The officer saw an interaction

between the defendant and the occupant of the silver car which he believed to be a drug deal

although he saw no physical exchange. Id. at 234. Then he saw the silver car leave. Id. at 230.

The defendant did not get back in the Mazda. Id. at 234. Police executed the warrant in the

apartment, where they found a woman and three men, including the defendant. Id. at 230. The

woman was the owner of the silver car. Id. at 230, 234. Inside the apartment the officers found

drugs and drug packaging materials, as well as paperwork bearing the defendant’s name. Id. at

230. Near the defendant the officers seized the keys to the Mazda, which was registered to the


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defendant’s sister. Id. Officers then conducted a warrantless search of the Mazda. Id. Inside they

found, inter alia, three items that the defendant later moved to suppress: a gun, ammunition, and

cash. Id. at 230, 231.

          In granting the motion to suppress, the Smith court first addressed whether the automobile

exception can ever apply to vehicles parked in private driveways. Although the court ultimately

chose not to reach that issue, id. at 234, one can infer from the opinion that the court had

concerns about possibly heightened privacy interests in a vehicle parked on private property. See

id. at 233 (“The Fourth Circuit has suggested . . . that ‘heightened privacy interests may be

triggered when a vehicle is encountered on private property,’ and the Fifth Circuit has stated that

the motor vehicle exception ‘may not apply when a vehicle is parked at the residence of the

criminal defendant . . .’”) (quoting United States v. Brookins, 345 F.3d 231, 237 n.8 (4th Cir.

2003); United States v. Fields, 456 F.3d 519, 525 (5th Cir. 2006)). Three years after Smith was

decided, however, the First Circuit made clear that the automobile exception applies even to cars

parked on private driveways. See United States v. Goncalves, 642 F.3d 245, 251 (1st Cir. 2011)

(holding that automobile exception applied to warrantless search of defendant’s car parked in his

mother’s driveway); accord, e.g., United States v. Fladten, 230 F.3d 1083, 1086 (8th Cir. 2000)

(denying motion to suppress evidence seized during warrantless search of vehicle parked in

defendant’s driveway, where probable cause was based largely on evidence obtained during

search of the home); United States v. Hernandez-Mieses, 257 F. Supp. 3d 165, 186 (D.P.R. 2017)

(same).

          The Smith court went on to hold that, assuming the automobile exception applied, the

police lacked probable cause to search the Mazda. Smith, 533 F. Supp. 2d at 234-35. The court

reasoned that there was no evidence that the defendant had used the Mazda in connection with



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his drug sales, which he made exclusively from the apartment. See id. Cf. United States v.

Barnes, 492 F.3d 33, 37 (1st Cir. 2007) (citing cases in which courts have found probable cause

to search a defendant’s home even though evidence showed defendant sold drugs only from a

vehicle).

       The key fact that distinguishes this case from Smith is that Denzel and Dilon sold drugs

only out of vehicles, not out of any residence. It is true that police had never seen either brother

sell drugs out of the Civic. But police had seen Denzel driving the Civic not long before they

searched the 177 Megan Road apartment. That surveillance included one day when they saw him

at 177 Megan Road – the very location of the drug-dealing evidence – looking furtively about

before putting something into the trunk of the Civic and then driving away. Denzel drove the

Civic to the apartment on the day of the search, and was about to drive away in the Civic after

spending a significant amount of time in the apartment. This evidence was sufficient to tie the

defendants’ drug dealing to the Civic. See, e.g., United States v. Lamon, 30 F.2d 1183, 1188-89

(2d Cir. 1991) (search warrant affidavit stating that informant had seen defendant selling drugs

from his car was insufficient, standing alone, to establish probable cause to search the car

because sale was undated; but probable cause was established by addition of information that

defendant recently had sold drugs from a house in front of which he had parked his car); United

States v. Spearman, 532 F.2d 132, 133 (9th Cir. 1976) (where officers obtained search warrant

for defendant’s apartment and car based on affidavit that described drug sales at defendant’s

apartment, and the only evidence about the car was a statement that “it is commonplace for

dealers of heroin to have heroin that is packaged for sale in the place where they live or sell

from, in their vehicles or on their persons,” court affirmed denial of motion to suppress evidence

seized from the car) (per curiam); United States v. Magwood, 2012 WL 3962756, at *6 (D.S.C.



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Sept. 11, 2012) (where officers executed search warrant at house and found drug-related

evidence, including several drug ledgers with nicknames, one of which was defendant’s, and

defendant arrived in his car shortly before officers executed the warrant, court held in dictum that

probable cause supported warrantless search of defendant’s car) (“Any objectively reasonable

officer would conclude, based on the discovery of [substantial drug evidence in the house], that

[defendant]’s car – which had just recently arrived at [the house] and was parked in front of the

residence – could contain contraband or other evidence of a crime”).

                                         CONCLUSION

       The government respectfully requests that the Court deny defendants’ motion to suppress

the evidence seized from the Civic because the officers had probable cause to believe that the

Civic would contain evidence of drug-dealing.

                                              Respectfully submitted,

                                              ANDREW E. LELLING
                                              United States Attorney


                                         By: /s/ Christine J. Wichers
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